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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                              CASE NO. 18-20337-CR-ALTONAGA

  UNITED STATES OF AMERICA

  vs.

  ANTWAN LENARD JOHNSON,

                    Defendant.
  _______________________________/

   GOVERNMENT MOTION IN LIMINE TO EXCLUDE IRRELEVANT CHARACTER
        EVIDENCE OF THE DEFENDANT’S GENERAL GOOD CONDUCT

         The United States of America, through its undersigned attorneys, hereby files this motion

  in limine to exclude evidence of Defendant Johnson’s good conduct and character because it is

  neither relevant to the charges nor admissible as character evidence under Federal Rules of

  Evidence 401-404.1

  I.     FACTUAL & PROCEDURAL SUMMARY
         On or about August 28, 2015, E.R., a seventeen (17) year-old male, arrived at the Miami-

  Dade Regional Juvenile Detention Center (hereinafter “the JDC”) and was assigned to Module 9

  (“Mod 9”) as a pre-trial detainee.2 On August 30, 2015, Defendant Johnson, a JDC employee

  since 2007, was assigned to work the 3-11 p.m. shift in Mod 9 as the lead juvenile detention officer

  (“JDO”). In the early evening, at Defendant Johnson’s direction and under his supervision,

  numerous Mod 9 juveniles viciously assaulted victim E.R. On or about August 31, 2015, at




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           For purposes of Local Rule 88.9, the Government has conferred with Defendant
  Johnson’s counsel, who oppose the instant motion. However, the parties have agreed to again
  confer and attempt to resolve the matter prior to any motions hearing date.
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             The JDC was operated by Florida Department of Juvenile Justice (“DJJ”).
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  approximately 11:17 p.m., E.R. was pronounced deceased as a result of injuries suffered during

  the attack.

          On or about April 30, 2018, Defendant Johnson was charged in a two-count Indictment

  (DE 3). Count 1 charges him with conspiracy to violate E.R.’s civil rights, under color of law,

  which resulted in E.R.’s death, in violation of 18 U.S.C. § 241. Count 2 charges him with

  deprivation of E.R.’s civil rights, under color of law, which resulted in bodily injury to E.R. and

  E.R.’s death, in violation of 18 U.S.C. § 242 (id.). Trial is now scheduled for April 15, 2019 (DE

  50).

  II.     DEFENDANT JOHNSON’S ALLEGED GOOD CHARACTER & CONDUCT
          Prior to the charges in this case, Defendant Johnson served as a JDO for approximately

  eleven (11) years. At trial, the Government anticipates that Defendant Johnson will seek to

  introduce evidence and testimony regarding his general good character, including his prior

  promotions, performance evaluations, awards, commendations, recognition, and other good acts

  while on duty. Defendant Johnson will likely utilize these matters to attempt to persuade the jury

  that, because of his good character and prior service record, he could not have possibly committed

  the charged crimes. The Court should exclude this evidence as irrelevant, unduly prejudicial, and

  improper character evidence under Federal Rules of Evidence 401-404.

  III.    LAW & ARGUMENT
          Relevant evidence is evidence having any tendency to make the existence of a

  consequential fact more probable or less probable. See FED. R. EVID. 401. To be relevant: “(1)

  [t]he evidence must be probative of the proposition it is offered to prove, and (2) the proposition

  to be proved must be one that is of consequence to the determination of the action.” United States

  v. Glasser, 773 F.2d 1553, 1559 n.4 (11th Cir. 1985). Upon failure to meet these relevancy

  requirements, Federal Rule of Evidence 402 deems the evidence “irrelevant” and “not admissible.”


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  FED. R. EVID. 402. Federal Rule of Evidence 403 further provides that relevant evidence may be

  excluded “if its probative value is substantially outweighed by a danger of . . . unfair prejudice,

  confusion of the issues, misleading the jury, undue delay, wasting time, or needlessly presenting

  cumulative evidence.” FED. R. EVID. 403. “Exclusion for risk of unfair prejudice, confusion of

  issues, misleading the jury, or waste of time, all find ample support in the authorities.” Id.,

  Advisory Committee Notes on 1972 Proposed Rules.

         Rule 404 generally prohibits the introduction of evidence of a person’s character to prove

  that the person acted in conformity with that character. See FED. R. EVID. 404(a)(1) & (b)(1). The

  rules provide an exception whereby defendants may offer evidence of their character, but only if

  it relates to a “pertinent” character trait. See FED. R. EVID. 404(a)(2)(A); United States v.

  Langford,   647 F.3d 1309, 1329 (11th Cir. 2011) (evidence of defendant’s “generous and

  philanthropic character” irrelevant to charges of bribery, money laundering, and fraud); United

  States v. Ellisor, 522 F.3d 1255, 1270-71 (11th Cir. 2008) (“[e]vidence of good conduct is not

  admissible to negate criminal intent”) (quoting United States v. Camejo, 929 F.2d 610, 613 (11th

  Cir. 1991)) (internal quotation marks omitted).3 Any evidence relating to Defendant Johnson’s

  general good character is not pertinent to the crimes charged under FRE 404 and should be

  excluded under FRE 401-403.

         Additionally, any evidence that Defendant Johnson was an exemplary, decorated, or

  competent JDO should also be excluded under FRE 401-404. These matters do nothing to make


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           Even if evidence of Defendant Johnson’s good character was pertinent, the form of that
  evidence would be limited to “testimony as to reputation or by testimony in the form of an
  opinion.” FED. R. EVID. 405(a); Michelson v. United States, 355 U.S. 469, 477 (1948). Character
  evidence in the form of testimony regarding specific instances of conduct is permitted only where
  the character trait at issue is “an essential element of a charge, claim, or defense.” FED. R. EVID.
  405(b).


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  the existence of any consequential fact more probable or less probable relating to the charged

  offenses and are unduly prejudicial. See Camejo, 929 F.2d at 613; United States v. Russell, 703

  F.2d 1243, 1249 (11th Cir. 1983). Courts also typically preclude law enforcement defendants from

  offering such evidence, including evidence of commendations and awards. See, e.g., United States

  v. Washington, 106 F.3d 983, 999-1000 (D.C. Cir. 1997) (police officer’s commendations were

  not admissible because the defendant’s “dedication, aggressiveness and assertiveness” in

  investigating drug dealing and carjacking was not “pertinent” to his bribery, conspiracy, drug, or

  firearms charges); United States v. Nazzaro, 889 F.2d 1158, 1168 (1st Cir. 1990) (noting that trial

  court properly excluded evidence of a police officer’s prior commendations because “the traits

  which they purport to show – bravery, attention to duty, perhaps community spirit – were hardly

  ‘pertinent’ to the crimes [of perjury and conspiracy to commit mail fraud] of which [the defendant]

  stood accused”); United States v. Barry, 814 F.2d 1400, 1403-1404 (9th Cir. 1987) (security patrol

  officer’s letters of commendation not pertinent under Rule 404(a) and inadmissible hearsay).




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  IV.    CONCLUSION
         For the foregoing reasons, the Government respectfully requests that the Court exclude any

  evidence of Defendant Johnson’s alleged good conduct and character under FRE 401-404.


                                                     Respectfully submitted,

  ARIANA FAJARDO ORSHAN                              ERIC S. DREIBAND
  UNITED STATES ATTORNEY                             ASSISTANT ATTORNEY GENERAL


  s/ Sean T. McLaughlin                              s/ Samantha Trepel__________
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                                 CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on January 4, 2019, I electronically filed the foregoing
  document with the Clerk of the Court using CM/ECF.


                                                     s/ Samantha Trepel________________
                                                     SAMANTHA TREPEL
                                                     Trial Attorney

                                                     s/ Sean T. McLaughlin
                                                     SEAN T. McLAUGHLIN
                                                     Assistant United States Attorney




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